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              14
                                              UNITED STATES DISTRICT COURT
              15
                              NORTHERN DISTRICT OF CALIFORNIA, SAN FRANCISCO DIVISION
              16
              17
                 UNITED STATES OF AMERICA ex rel.              Case No. 16-CV-02120-EMC
              18 GWEN THROWER,
                                                               RELATOR’S NOTICE OF MOTION AND
              19                 Plaintiff,                    MOTION TO STRIKE AFFIRMATIVE
                                                               DEFENSES IN DEFENDANT’S ANSWER
              20         v.
                                                               Judge: Hon. Edward M. Chen
              21 ACADEMY MORTGAGE CORPORATION,
              22                 Defendant.

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[3108466-1]                                                                              16-CV-02120-EMC
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               1       NOTICE OF MOTION AND MOTION TO STRIKE AFFIRMATIVE DEFENSES

               2           PLEASE TAKE NOTICE that on November 29, 2018, at 1:30 p.m., or as soon thereafter as

               3 the matter may be heard, Relator Gwen Thrower (“Relator”) will and hereby does move this Court
               4 for an order pursuant to Federal Rule of Civil Procedure 12(f) striking certain affirmative defenses
               5 in Defendant Academy Mortgage Corporation’s (“Defendant”) Answer filed September 28, 2018.
               6 Relator respectfully asks this Court to strike certain affirmative defenses as those affirmative
               7 defenses are comprised of bare bones legal conclusions and are devoid of factual allegations.
               8 Defendants do not meet the required pleading requirements and do not provide Relator with fair
               9 notice of the defenses they raised. Furthermore, certain defenses raised by Defendant are not even
              10 proper affirmative defenses. Relator respectfully requests that this Court strike these affirmative
              11 defenses as this will not only ensure that Relator is provided with the required fair notice of the
              12 defenses, but will also streamline the issues so that discovery may focus on the proper defenses.
              13           This motion is based on this Notice of Motion and Motion, the attached Memorandum of

              14 Points and Authorities, all pleadings and papers filed in this action, oral argument of counsel, and
              15 any other matters as may come before the Court.
              16                STATEMENT OF ISSUE TO BE DECIDED PURSUANT TO CIVIL
                                                LOCAL RULE 7-4(a)(3)
              17
              18           1. Whether certain affirmative defenses in Defendant’s answer should be struck where they

              19           contain only bare bones legal conclusions and are devoid of factual support, thus making

              20           them insufficient under the required pleading standards, or are otherwise not proper

              21           affirmative defenses.

              22                        MEMORANDUM OF POINTS AND AUTHORITIES

              23      I.       FACTUAL BACKGROUND
              24
              25           Relator filed this action on April 21, 2016 seeking damages and penalties on behalf of the

              26   United States relating to Defendant’s scheme to defraud the Federal Housing Administration and

              27   Department of Housing and Urban Development. On August 24, 2018, this Court denied

              28   Defendant’s Motion to Dismiss Relator’s First Amended Complaint (“FAC”). The parties are now
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               1   beginning discovery.

               2               On September 28, 2018, Defendant filed its answer to Relator’s FAC. See Doc. No. 131.

               3   Although Defendant’s Answer sets forth nine affirmative defenses (statute of limitations; waiver,

               4   acquiescence, and abandonment; estoppel; the failure to state a claim upon which relief can be

               5   granted; failure to mitigate; barred by the United States’ efforts to dismiss the action; recoupment

               6   and/or set-off; the Due Process Clause; and the Eight Amendment prohibition on excessive fines),

               7   it provides no factual basis for eight of those nine defenses.1 See id. Therefore, they should be

               8   stricken pursuant to Federal Rule of Civil Procedure 12(f).

               9         II.      ARGUMENT

              10         A. Legal Standard

              11               Defendant’s affirmative defenses raised in their Answer should be stricken because the

              12 defenses do not put Relator on notice of the factual bases upon which the defenses rest.
              13               Pursuant to Rule 12(f) of the Federal Rules of Civil Procedure, a “court may strike from a

              14 pleading an insufficient defense.” Fed. R. Civ. P. 12(f). “The function of a Rule 12(f) motion to
              15 strike is to avoid the expenditure of time and money that will arise from litigating spurious issues
              16 by dispensing with those issues prior to trial.” Solis v. Zenith Capital, LLC, No. 08-4854, 2009 WL
              17 1324051, at *3 (N.D. Cal. May 8, 2009) (citing Sidney-Vinstein v. A.H. Robins Co., 697 F.2d 880,
              18 885 (9th Cir. 1983)). Where such a motion “‘may have the effect of making the trial of the action
              19 less complicated, or have the effect of otherwise streamlining the ultimate resolution of the action,
              20 the motion to strike will be well taken.’” Hart v. Baca, 204 F.R.D. 456, 457 (C.D. Cal. 2001)
              21 (quoting California ex rel. State Lands Comm’n v. United States, 512 F. Supp. 36, 38 (N.D. Cal.
              22 1981)).
              23               Federal Rule of Civil Procedure 8 governs what must be contained in an answer to be

              24 sufficient. In order to be sufficiently pled under Federal Rule of Civil Procedure 8(b), an affirmative
              25
              26    1
                               Although Relator does not move against Defendant’s first affirmative defense involving the
              27               statute of limitations, Relator disagrees that all claims prior to April 21, 2010 would be
                               barred. For example, there may be up to a ten-year statute of limitations period under 31
              28               U.S.C. § 3731(b)(2).
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               1 defense must give plaintiffs fair notice of the defense being advanced. See Ramirez v. Ghilotti Bros.
               2 Inc., 941 F. Supp. 2d 1197, 1204 (N.D. Cal. 2013); Wyshak v. City Nat’l Bank, 607 F.2d 824, 827
               3 (9th Cir. 1979) (“The key to determining the sufficiency of pleading an affirmative defense is
               4 whether it gives plaintiff fair notice of the defense.”). “Affirmative defenses are governed by the
               5 same pleading standard as complaints.” Facebook, Inc. v. Power Ventures, Inc., No. 08-5780, 2009
               6 WL 3429568, at *2 (N.D. Cal. Oct. 22, 2009). After Iqbal, “the burden is on the defendant to proffer
               7 sufficient facts and law to support an affirmative defense, and not on the plaintiff to gamble on
               8 interpreting an insufficient defense in the manner defendant intended.” CTF Dev., Inc. v. Penta
               9 Hosp., LLC, No. 09-02429, 2009 WL 3517617, at *8 (N.D. Cal. Oct. 26, 2009). “Just as a plaintiff’s
              10 complaint must allege enough supporting facts to nudge a legal claim across the line separating
              11 plausibility from mere possibility, a defendant’s pleading of affirmative defenses must put a plaintiff
              12 on notice of the underlying factual bases of the defense.” Dion v. Fulton Friedman & Gullace LLP,
              13 No. 11-2727, 2012 WL 160221, at *2 (N.D. Cal. Jan. 17, 2012) (internal citations omitted). This
              14 standard “serve[s] to weed out the boilerplate listing of affirmative defenses which is commonplace
              15 in most defendants’ pleadings where many of the defenses alleged are irrelevant to the claims
              16 asserted.” Barnes v. AT&T Pension Benefit Plan-Nonbargained Program, 718 F. Supp. 2d 1167,
              17 1172 (N.D. Cal. 2010).
              18          Courts have found several reasons why affirmative defenses must meet the same pleading

              19 standard as Rule 12(b)(6) motions to dismiss. First, fairness dictates that plaintiffs be provided with
              20 the same notice by defendants that is required of plaintiffs in a complaint. See Racick v. Dominion
              21 Law Assocs., 270 F.R.D. 228, 233 (E.D.N.C 2010) (“nor is it fair to require a plaintiff to provide the
              22 defendant with enough notice . . . and then permit a defendant under another pleading standard
              23 simply to suggest that some defense may possibly apply in the case.”) (internal citation omitted).
              24 Second, insufficient and boilerplate defenses only clutter the docket and expand the scope of
              25 discovery by requiring plaintiffs to conduct unnecessary discovery. See Barry v. EMC Mortg., No.
              26 CIV.A. DKC 10-3120, 2011 WL 4352104, at *3 (D. Md. Sept. 15, 2011); see also 5 Charles Alan
              27 Wright & Arthur R. Miller, Federal Practice & Procedure § 1274 (3d ed. 2008).
              28          Given these notions of notice and fairness, the overwhelming majority of courts in this
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               1 district have found that the Iqbal/Twombly pleading standard applies to affirmative defenses. See,
               2 e.g., Ramirez, 941 F. Supp. 2d at 1204; Jacobson v. Persolve, LLC, No. 14-00735, 2014 WL
               3 4090809, at *5-6 (N.D. Cal. Aug. 19, 2014); BlackBerry Ltd. v. Typo Prods. LLC, No. 14-00023,
               4 2014 WL 1867009, at *5 (N.D. Cal. May 8, 2014); Ujhelyi v. Vilsack, No. 12-04282, 2013 WL
               5 6174491, at *2 (N.D. Cal. Nov. 25, 2013).
               6          Affirmative defenses that lack sufficient factual allegations to put Plaintiffs on notice of the

               7 nature of the defenses are therefore insufficiently pled and appropriately stricken from an answer
               8 under Rule 12(f). See e.g., CTF Dev., 2009 WL 3517617, at *8.
               9      B. Defendant’s Second Affirmative Defense of Waiver, Acquiescence, and Abandonment
                         is Insufficiently Pled
              10
              11          Defendant’s Second Affirmative Defense states that the claims in the FAC are barred by the

              12 doctrine of waiver, acquiescence, and abandonment because the United States continues to make
              13 payments on claims submitted for insurance.
              14          Waiver is the intentional relinquishment of a known right after knowledge of the facts.

              15 AirWait Int’l Ltd. v. Schultz, 84 F. Supp. 3d 943, 957 (N.D. Cal. 2015). Additionally, the elements
              16 of a defense of acquiescence require that: “(1) the senior user actively represented that it would not
              17 assert a right or claim; (2) the delay between the active representation and assertion of the right or
              18 claim was not excusable; and (3) the delay caused the defendant undue prejudice.” Seller Agency
              19 Council, Inc. v. Kenney Ctr. For Real Estate Educ., Inc., 621 F.3d 981, 989 (9th Cir. 2010).
              20          Here, Defendant only provides boilerplate and conclusory statements that these legal

              21 doctrines apply. In regards to waiver, Defendant fails to state any facts or identify any actions that
              22 the United States took or did not take after the knowledge of the facts giving rise to a known right
              23 that indicated that the United States waived any claims. Nor does Defendant identify how the United
              24 States represented it would not assert a right or claim, any delay that occurred, and how any such
              25 delay caused Defendant prejudice.
              26          Lastly, Relator is completely at a loss for how abandonment even remotely applies given

              27 that an abandonment defense appears to be limited to trademark actions. See e.g., Sutton v.
              28 Williamsburg Winery, Ltd., 2013 WL 5348127, at *2–3 (E.D. Cal. 2013) (“[a]bandonment is an
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               1 affirmative common law defense to both trademark infringement and false designation of origin
               2 claims.”); Novadaq Techs., Inc. v. Karl Storz GmbH & Co. K.G., 143 F. Supp. 3d 947, 953 (N.D.
               3 Cal. 2015) (“[t]o establish abandonment the accused infringer must show that the trademark owner
               4 is not using its mark on the goods that will be effectively excluded by the proposed restriction.”)
               5 (internal quotations omitted).
               6           Accordingly, this Court should strike this affirmative defense.

               7           C.      Defendant’s Third Affirmative Defense of Estoppel is Insufficiently Pled

               8           Defendant’s Third Affirmative Defense states that the claims in the FAC are also barred by

               9 estoppel. Here, Defendant alleges that because the United States made, and continued to make
              10 payments on claims submitted for insurance proceeds, the United States cannot recover. Even if
              11 these allegation were true, they do not support a defense of estoppel. To establish estoppel: “(1) the
              12 party to be estopped must know the facts; (2) he must intend that his conduct shall be acted on or
              13 must so act that the party asserting estoppel has a right to believe it is so intended; (3) the latter must
              14 be ignorant of the true facts; and (4) he must rely on the former’s conduct to his injury.” United
              15 States v. King Features Entm’t, Inc., 843 F.2d 394, 399 (9th Cir. 1988) (citing Bob’s Big Boy Family
              16 Restaurants v. NLRB, 625 F.2d 850, 854 (9th Cir. 1980)). Additionally, estoppel is stricter to assert
              17 against the government and may be available only when two additional requirements apply: “(i)
              18 affirmative misconduct going beyond mere negligence; and (ii) the wrongful conduct threatened to
              19 work a serious injustice and the public’s interest will not suffer undue damage.” FTC v. Directv,
              20 Inc., 2015 WL 9268119, at *3 (N.D. Cal. 2015) (citing Watkins v. U.S. Army, 875 F.2d 799, 706–
              21 07 (9th Cir. 1989)). Here, Defendant’s answer is wholly a legal conclusion and does not establish
              22 that each of these elements applies. For example, Defendant’s answer fails to factually allege that
              23 the United States was aware of the true facts and how the United States relied on Defendant’s
              24 conduct.
              25           Accordingly, this Court should strike this affirmative defense as factually insufficient.

              26           D.      Defendant’s Fourth Affirmative Defense of Failure to State A Claim is
                                   Improper
              27
              28           Defendant’s Fourth Affirmative Defense states that the FAC fails to state a claim upon which
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               1 relief can be granted.
               2          Here, defendant’s motion to dismiss was already denied by this Court, so it is difficult to see

               3 how this affirmative defense even applies. In any event, this defense is a legal conclusion that
               4 contains no factual support. In light of Relator’s detailed FAC containing hundreds of paragraphs
               5 of factual details, Defendant’s conclusory and boilerplate defense is insufficient.
               6          Furthermore, “[f]ailure to state a claim is not a proper affirmative defense.” Barnes, 718 F.

               7 Supp. 2d at 1174; Gomez v. J. Jacobo Farm Labor Contractor, Inc., 188 F. Supp. 3d 986, 995 (E.D.
               8 Cal. 2016) (failure to state a claims is not an affirmative defense); Baca, 233 F.R.D. at 564 (striking
               9 such a defense with prejudice).
              10          Given both these factual and legal deficiencies, this defense should also be struck.

              11          E.       Defendant’s Fifth Affirmative Defense of Failure to Mitigate is Insufficiently
                                   Pled
              12
              13          Defendant’s Fifth Affirmative Defense states that the United States has failed to mitigate its

              14 damages by failing to take reasonable steps to recoup the fair market value for properties associated
              15 with the claims in the FAC.
              16          Again, Defendant fails to state facts supporting these conclusory statements. Defendants

              17 provide no factual support demonstrating how the United States was required to mitigate its
              18 damages, how the United States was supposed to mitigate its damages, and what reasonable steps
              19 were not taken. In any event, mitigation of damages is not an affirmative defense in the first place.
              20 See Ahmed v. HSBC Bank USA, Nat’l Ass’n, 2017 WL 5720548 (C.D. Cal. 2017); Microsoft Corp.
              21 v. Motorola, Inc., 963 F. Supp. 2d 1176, 1188–89 (W.D. Wash. 2013).
              22          Accordingly, Defendant’s Fifth Affirmative Defense regarding the failure to mitigate should

              23 also be struck.
              24          F.       Defendant’s Sixth Affirmative Defense Regarding the Government’s Motion
                                   to Dismiss is Improper
              25
              26          Defendant’s Sixth Affirmative Defense states that the action is barred because the United

              27 States has moved to dismiss the action under 31 U.S.C. § 3730(c) and Relator has no statutory
              28 standing to pursue this action since “the United States has expressly disavowed the allegation in the
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               1 Amended Complaint.” First, the United States’ motion to dismiss has already been decided and
               2 denied, so it is unclear how this supposed defense even applies. Second, Defendant cites no facts
               3 for the proposition that Relator has no standing to pursue this action, and in fact, Relator may do so
               4 under the express provision of 31 U.S.C. § 3730(c)(3). Lastly, Defendant cites no factual support
               5 for the bald assertion that the United States has expressly disavowed the allegations.
               6          Thus, this affirmative defense should also be struck.

               7          G.      Defendant’s Seventh Affirmative Defense Regarding Recoupment and Set-off
                                  are Insufficiently Pled
               8
               9          Defendant’s Seventh Affirmative Defense states that the United States’ claims are barred by

              10 recoupment and/or set off. “To constitute a claim in recoupment, a defendant’s claim must (1) arise
              11 from the same transaction or occurrence as the plaintiff’s suit; (2) seek relief of the same kind or
              12 nature as the plaintiff’s suit; and (3) seek an amount not in excess of the plaintiff’s claim.” Navajo
              13 Arts & Crafts Enter. v. McGough, 2018 WL 4575012, at *2 (D. Ari. 2018); see also United States
              14 v. Shell Oil Co., 1992 WL 144296, at *10 (C.D. Cal. 1992) (noting “setoffs and recoupment are
              15 perhaps inappropriate as affirmative defenses[.]”).
              16          Here, Defendant’s failure to provide factual support for this defense once again does not

              17 provide Relator with the requisite fair notice of the defense. For example, Relator is unclear as to
              18 what recoupment Defendant even seeks and what transactions or occurrences such recoupment
              19 arises out of. Furthermore, as recoupment and set-off require that Defendant not seek an amount not
              20 in excess of the plaintiff’s claim, it is entirely unclear as to whether such amounts may or may not
              21 be in excess of Relator’s claims.
              22          Accordingly, this affirmative defense should also be struck as insufficiently pled.

              23          H.      Defendant’s Eighth Affirmative Defense Regarding Due Process is
                                  Insufficiently Pled
              24
              25          Defendant’s Eighth Affirmative Defense states the claims are barred by the Due Process

              26 Clause of the United States Constitution. Here, Defendant fails to provide any factual support for
              27 how this defense applies such as which due process rights were violated and how.
              28          Accordingly, this affirmative defense should also be struck as insufficiently pled.
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               1          I.      Defendant’s Ninth Affirmative Defense Regarding the Eight Amendment is
                                  Insufficiently Pled
               2
               3          Defendant’s Ninth Affirmative Defense states that the United States’ claims are barred by

               4 the Eighth Amendment’s prohibition on excessive fines.
               5          Under the Eighth Amendment of the United States Constitution, “[a] fine is

               6 unconstitutionally excessive if (1) the payment to the government constitutes punishment for an
               7 offense, and (2) the payment is grossly disproportionate to the gravity of the defendant’s offense.”
               8 United States v. Mackby, 221 F. Supp. 2d 1106, 1109 (N.D. Cal. 2002) (citing United States v.
               9 Bajakajian, 524 U.S. 321, 327–28 (1998)). Here, Defendant has failed to provide the required
              10 factual support demonstrating either the payment amounts and how such payments are grossly
              11 disproportionate to the offenses. Given this lack of factual detail, Defendant has failed to provide
              12 notice of the basis for this defense.
              13          Accordingly, this affirmative defense should also be struck as insufficiently pled.

              14                                             CONCLUSION

              15          Defendant’s answer is replete with boilerplate, cookie-cutter affirmative defenses which

              16 contain no factual support for nearly all of affirmative defenses Defendant asserts. Given this lack
              17 of factual detail, Defendant has failed to provide Relator with fair notice of the defenses, potentially
              18 causing Relator to incur additional time and discovery determining the bases for Defendant’s
              19 affirmative defenses. This Court should therefore strike these affirmative defenses as Defendant has
              20 not met the required pleading standard under Rule 8.
              21
              22                                                         Dated: October 19, 2018
              23
                                                                       By   /s/ Jonathan W. Ferris
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                                                                            Michael J. Lingle
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               1                                  CERTIFICATE OF SERVICE

               2
               3         I hereby certify that on October 19, 2018, a true and correct copy of the foregoing document

               4 was electronically filed with the Clerk of Court, is available for viewing and downloading from the
               5 ECF system, and will be served by operation of the Court’s electronic filing system (CM/ECF) upon
               6 all counsel of record.
               7                                                             /s/ Jonathan W. Ferris
                                                                               Jonathan W. Ferris
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